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                   IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF GEORGIA
                             MACON DIVISION

NOLA C. MARQUEZ,                                                Civil Action File No.

             Plaintiff,                                       5:15-CV-293-MTT
v.

WAL-MART STORES, INC. AND
WAL-MART STORES EAST, LP.,

             Defendants.
                                      /

                             NOTICE OF REMOVAL

      COMES NOW WAL-MART STORES, INC. , erroneously named, and WAL-

MART STORES EAST, LP., named Defendants in the above-captioned matter, by

and through their counsel of record, within the time prescribed by law, and files this

Notice of Removal, showing the Court as follows:

                                          1.

      The above-named Plaintiff filed suit against Defendant WAL-MART STORES,

INC. and WAL-MART STORES EAST, LP. in the State Court of Houston County,

Georgia, which is within the Macon Division of this Court. 28 U.S.C.A. § 90 (a)(2).

Said lawsuit is styled as above and is numbered as Civil Action File No. 15-V-48757.

Plaintiff's claims against Defendant includes claims of negligence.




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                                         2.

      Plaintiff filed the Complaint on or about April 14, 2015. Defendants WAL-

MART STORES, INC. and WAL-MART STORES EAST, LP. received service of

summons and a copy of the Complaint on May 6, 2015. Defendants WAL-MART

STORES, INC. and WAL-MART STORES EAST, LP. file this notice of Removal

within thirty (30) days after Defendant received Plaintiff’s First Amendment to

Complaint For Damages which itemizes $34,346.13 in medical bills, (Exhibit “A”)

and within 30 days of receipt of Plaintiff’s Answers to Interrogatories and Response

to Request For Production of Documents which disclose that Plaintiff has been

diagnosed with an L4-5 disc bulge with annular tear (Exhibit “B”) which has

required epidural steroid injections and other treatment. Plaintiff further responded

to Defendant’s Request For Admissions and seeks in excess of $75,000 (Exhibit “C”).

Defendants file this notice of Removal within thirty (30) days after receipt by the

Defendant of Plaintiff’s Amended Complaint and discovery responses from which

it was first ascertained that the case became removable. 28 USC § 1446.

                                         3.

      Wal-Mart Stores East, LP, a Delaware limited partnership, of which

WSE Management, LLC is the general partner, and WSE Investment, LLC is

the limited partner. The sole member of WSE Management, LLC and WSE


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Investment, LLC is Wal-Mart Stores East, LLC, fka Wal-Mart Stores East, Inc.,

an Arkansas limited liability company. Wal-Mart Stores East, Inc. was

converted to an Arkansas limited liability company on January 25, 2011. The

principle place of business for all entities mentioned is 702 SW 8th Street,

Bentonville, Arkansas 72716.

                                         4.

      Nola C. Marquez is a citizen of the State of Georgia.

                                         5.

      Complete diversity of citizenship exists between Plaintiff and Defendants.

                                         6.

      Plaintiff claims an annular tear at L4-5; epidural steroid injections; pain and

suffering, past medical expenses of $34,346.13, and future medical expenses; and

past lost wages of $908.66. The amount in controversy, exclusive of interest and

costs, exceeds $75,000.

                                         7.

      This action is removable pursuant to 28 U.S.C. §§ 1332, 1441, based on

complete diversity of citizenship between Plaintiff and Defendants.

                                         8.

      Pursuant to the provisions of 28 U.S.C. § 1446, Defendants have attached as


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Exhibit "D" copies of all the pleadings that were provided to and served upon

Defendant, including copies of all pleadings that have been filed to date in the State

Court of Houston County, Georgia for the above-styled case.

                                           9.

        Pursuant to 28 U.S.C. § 1446, Defendants are not required to file a removal

bond.

                                           10.

        Written notice of the filing of this Notice of Removal will be given to all

parties as required by 28 U.S.C. § 1446.

                                           11.

        A true and correct copy of this Notice of Removal will be filed with the Clerk

of the State Court of Houston County, Georgia, as required by 28 U.S.C. § 1446.

        WHEREFORE, Defendant WAL-MART STORES, INC. and WAL-MART

STORES EAST, LP. prays that the above-captioned lawsuit be removed to the United

States District Court for the Middle District of Georgia, Macon Division.




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                                      McLAIN & MERRITT, P.C.

                                         /s/ Howard M. Lessinger
                                      Howard M. Lessinger
                                      Georgia State Bar No. 447088
                                      Attorneys for Defendants
                                      WAL-MART STORES, INC.
                                      WAL-MART STORES EAST, LP.

3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326-3240
(404) 365-4514
hlessinger@mclain-merritt.com


      The undersigned counsel certifies that the foregoing Notice of Removal has
been prepared with one of the font and point selections approved by the court in LR
5.1B.
                                        /s/ Howard M. Lessinger
                                      Howard M. Lessinger




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                          CERTIFICATE OF SERVICE

      This is to certify that on July 28, 2015, I electronically filed a NOTICE OF

REMOVAL with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to attorneys of record.

                                       McLAIN & MERRITT, P.C.


                                           /s/ Howard M. Lessinger
                                       Howard M. Lessinger
                                       Georgia State Bar No. 447088
                                       Attorneys for Defendants
                                       WAL-MART STORES, INC.
                                       WAL-MART STORES EAST, LP.
3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326-3240
(404) 365-4514
hlessinger@mclain-merritt.com
